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                                         1:21-cr-00015-LMM-LTW
                                              USA v. Martinez
                                         Honorable Linda T. Walker

                           Minute Sheet for proceedings held In Open Court on 09/16/2021.


             TIME COURT COMMENCED: 10:07 A.M.
             TIME COURT CONCLUDED: 11:53 A.M.             TAPE NUMBER: FTRGOLD
             TIME IN COURT: 1:36                          DEPUTY CLERK: Sonya Lee-Coggins
             OFFICE LOCATION: Atlanta

         DEFENDANT(S):       [1]Domingo Martinez Present at proceedings
         ATTORNEY(S)         Bruce Harvey representing Domingo Martinez
         PRESENT:            Michael Qin representing USA
         PROCEEDING
                             Evidentiary Hearing;
         CATEGORY:
         MINUTE TEXT:        Parties appeared before the court for an evidentiary hearing.
                             WITNESSES: Officer Brian Harman, SWORN, TESTIFIED. EXHIBITS:
                             G1-5 AND D1-3, ADMITTED. Briefing scheduled is ORDERED as
                             follows: Transcript due 10/04/2021; Defendant's perfected motion to
                             suppress due by 10/29/2021; Government's response due by 11/19/2021;
                             Defendant's reply brief due by 12/05/2021. Hearing Concluded.
                             Exhibits retained by the Court to be forwarded to the Clerks Office.
         EXHIBIT STATUS:




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